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 8                                 UNITED STATES DISTRICT COURT

 9                              SOUTHERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,           )                  Case No. 08CR0256-L
                                          )
11                      Plaintiff,        )
                                          )                  PRELIMINARY ORDER OF
12          v.                            )                  CRIMINAL FORFEITURE
                                          )
13    BERNAL ANTHONY MITCHELL (5),        )
                                          )
14                      Defendant.        )
      ____________________________________)
15

16           WHEREAS, in the Indictment in the above-captioned case, the United States sought

17    forfeiture of all right, title and interest in specific properties and a money judgment in the amount

18    of $20,000.00 against the above-named Defendant, BERNAL ANTHONY MITCHELL (5)

19    (“Defendant”), pursuant to Title 21, United States Code, Section 853, as properties constituting,

20    or derived from, any proceeds Defendant obtained directly or indirectly, as the result of the

21    violations, as well as any property used or intended to be used to facilitate the commission of the

22    violation to which Defendant is pleading guilty, as charged in the Indictment; and

23           WHEREAS, on or about November 12, 2008, Defendant pled guilty to Count 1 of the

24    Indictment, which plea included consents to the forfeiture allegations of the Indictment, including

25    entry of a $20,000.00 judgment against the Defendant in favor of the United States and forfeiture

26    of the following:

27                   a.      approximately $626 in U.S. currency;

28                   b.      approximately $718 in U.S. currency;
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 1                   c.      approximately $2,136 in U.S. currency;

 2                   d.      approximately $1,360 in U.S. currency;

 3                   e.      approximately $1,955 in U.S. currency;

 4                   f.      approximately $500 in U.S. currency;

 5                   g.      a 1998 Chevy Tahoe V8, bearing California license plate number
                             3XSH296 and VIN 1GNEK13R3WJ333366;
 6
                     h.      a 2004 Nissan Armada V8, bearing California license plate number
 7                           5LDP491 and VIN 5N1AA08A34N746851;

 8                   i.      a 2005 Cadillac CTS Sedan V6, bearing California license plate
                             number 6AIM935 and VIN 1G6DP567450188336;
 9
                     j.      a 1998 Cadillac Deville D’Elegance, bearing California license
10                           plate number 4YGR821 and VIN 1G6KE54Y7WU782339;

11                   k.      a 2000 Honda Accord 4DR, bearing California license plate number
                             6AMM960 and VIN 3HGCG6657YG702226; and
12
                     l.      a Money Judgment of Forfeiture in the amount of $20,000.00; and
13

14           WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has

15    established the requisite nexus between the forfeited properties and the offense; and

16           WHEREAS, by virtue of said guilty plea, the United States is now entitled to possession

17    of the above-referenced properties, pursuant to 21 U.S.C. § 853 and Rule 32.2(b) of the Federal

18    Rules of Criminal Procedure; and

19           WHEREAS, pursuant to Rule 32.2(b), the United States having requested the authority to

20    take custody of the above-referenced properties which were found forfeitable by the Court; and

21           WHEREAS, the United States, having submitted the Order herein to the Defendant through

22    his attorney of record, to review, and no objections having been received;

23           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

24           1.      Based upon the guilty plea of the Defendant, the United States is hereby authorized

25    to take custody and control of the following assets, and all right, title and interest of Defendant

26    BERNAL ANTHONY MITCHELL (5) in the following properties are hereby forfeited to the

27    United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

28    § 853(n):


                                                      2                                    08CR0256-L
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 1                    a.      approximately $626 in U.S. currency;

 2                    b.      approximately $718 in U.S. currency;

 3                    c.      approximately $2,136 in U.S. currency;

 4                    d.      approximately $1,360 in U.S. currency;

 5                    e.      approximately $1,955 in U.S. currency;

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10                    i.      a 2005 Cadillac CTS Sedan V6, bearing California license plate
                              number 6AIM935 and VIN 1G6DP567450188336;
11
                      j.      a 1998 Cadillac Deville D’Elegance, bearing California license
12                            plate number 4YGR821 and VIN 1G6KE54Y7WU782339; and

13                    k.      a 2000 Honda Accord 4DR, bearing California license plate number
                              6AMM960 and VIN 3HGCG6657YG702226.
14

15            2.      The aforementioned forfeited assets are to be held by the United States Marshals

16    Service in its secure custody and control.

17            3.      Pursuant to Rule 32.2(b)and (c), the United States is hereby authorized to begin

18    proceedings consistent with any statutory requirements pertaining to ancillary hearings and rights

19    of third parties.

20            4.      Pursuant to the Attorney General’s authority under Section 853(n)(1) of Title 21,

21    United States Code, Rule 32.2(b)(3), Fed. R. Crim. P., and Rule G(4) of the Supplemental Rules

22    for Admiralty or Maritime Claims and Asset Forfeiture Actions, the United States forthwith shall

23    publish for thirty (30) consecutive days on the Government’s forfeiture website,

24    www.forfeiture.gov, notice of this Order, notice of the Marshals Service's intent to dispose of the

25    properties in such manner as the Attorney General may direct, and notice that any person, other

26    than the Defendant, having or claiming a legal interest in the above-listed forfeited properties must

27    file a petition with the Court within thirty (30) days of the final publication of notice or of receipt

28    of actual notice, whichever is earlier.


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 1              5.    This notice shall state that the petition shall be for a hearing to adjudicate the

 2    validity of the petitioner's alleged interest in the property, shall be signed by the petitioner under

 3    penalty of perjury, and shall set forth the nature and extent of the petitioner's right, title or interest

 4    in the forfeited property and any additional facts supporting the petitioner's claim and the relief

 5    sought.

 6              6.    The United States may also, to the extent practicable, provide direct written notice

 7    to any person known to have alleged an interest in the property that is the subject of the

 8    Preliminary Order of Criminal Forfeiture, as a substitute for published notice as to those persons

 9    so notified.

10              7.    Upon adjudication of all third-party interests, this Court will enter an Amended

11    Order of Forfeiture pursuant to 21 U.S.C. § 853(n) as to the aforementioned assets, in which all

12    interests will be addressed.

13              IT IS FURTHER ORDERED, ADJUDGED AND DECREED:

14              8.    In addition to forfeiture of the above assets, Defendant BERNAL ANTHONY

15    MITCHELL (5) shall forfeit to the United States the sum of $20,000.00 pursuant to 21 U.S.C.

16    §853. The Clerk of the Court is directed to enter a judgment in favor of the United States against

17    Defendant in the amount of $20,000.00 with interest to accrue thereon in accordance with law.

18              9.    Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the extent that

19    the forfeiture consists of a money judgment."

20              10.   This Court shall retain jurisdiction in the case for the purpose of enforcing the order

21    of forfeiture and collecting and enforcing the judgment.

22              11.   Pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall be made final as to the

23    Defendant at the time of sentencing and is part of the sentence and included in the judgment.

24              12.    The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

25    Order of Forfeiture to substitute property having a value not to exceed $20,000.00 to satisfy the

26    money judgment in whole or in part.

27    //

28    //


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 1           13.      The United States may take any and all actions available to it to collect and enforce

 2    the judgment.

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 4    DATED: February 24, 2009

 5
                                                    M. James Lorenz
 6                                                  United States District Court Judge

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